Case 3:02-cr-00005-DHB-BKE Document 521 Filed 11/19/14 Page 1 of 1


                                                                                                              FILt L]
                     IN THE T'NITED STATES DISTRICT COURT FoR trf$.iliSlI-ICTC0UR  I
                             SOUTHERNDISTRICT OF GEORGIA          ill: i(Tr' 'rrv.
                                    DT'BI.,IN DIVISION
                                                                                                     20lr{
                                                                                                        t{0Vl9
UN]TED STATES OF AMERICA

                                                              *           rrD    ?n?_nnq
                                                                                                    CI-ER
                                                                                                         :0        I ] F6 A

WATRICKIO TAVORIA JOHNSON



                                                          ORDER


         Defendant has fifed                        a motion for                reduction       of sentence under

1B U.S.C.            S 3582(c) (2)                  on the        basis         that       Amendment 782 to          the

Unired         SLaLes Senrencing Guidelines                                  has revised            the    guide-Lines

rnn r i -ahl,-         -n        rl rrrrr t raf f i nki nn        n'4cnqeq              F.vcr   rhorrr-rh Ar.Fnclment


782 became effective                             on November 1,                 2414, no defendant             may be

released             on          the       basis     of      the         retroactive            amendment before

L\OVemDer It               ZU13.           Jee    U.5.5.b.        fvneno.        /dd.       Inus,   tne    Lourt   wl I l

underLake a review of cases involving                                            druq traffickinq             offenses

in due course.                        If   Defendant is             entitled        to a sentence reduction

as   a       resuLt              of        amendments to             the        Unlted        States       Sentencing

cuidelines,                the         Court       wiff      make such a reduction                        sua sponte,

r^-^r..ri     -^r \.         n^r6n^.nL,s             mocion                      nc.    5:31    is DEFER{ID--I-=--."-
                                                                     licc.

         ORDER             ENTERED                   du9uJ    La'         G e o r si a .     this    44t              of
November,            2014.




                                                                          UNITED STA            S DISTRICT JUD


         I      The Clerk                   is   dlrected           to    terminate          the     motion    for
             q--^f     j
admini                     \ra    r'\'rrn.\SeS.
